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                       EXHIBIT A
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MENU
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 TECH
  TECH       MOBILE       SOCIAL MEDIA         ENTERPRISE        CYBERSECURITY   TECH GUIDE




 Elon Musk emails employees                                                                                      
 about 'extensive and damaging
 sabotage' by employee
    Tesla CEO Elon Musk sent an e-mail to all employees on Sunday night alleging
    there was a saboteur within the company's ranks.
    Musk alleged this employee tweaked code on internal products and sent
    company data out without authorization.
    Tesla is in the midst of sweeping layoffs and a profitability drive. It is also
    under pressure to produce 5,000 Model 3s per week by the end of this quarter.

 Lora Kolodny | @lorakolodny
 Published 5:56 PM ET Mon, 18 June 2018 | Updated 7:45 PM ET Tue, 19 June 2018




                                                                                                   The best personal
                                                                                                   assistant may not even
                                                                                                   be a person
                                                                                                   Ready for the age of AI-
                                                                                                   based super assistants?
                     Elon Musk thinks a saboteur exists
                                                                                                   Over the next three to ﬁve
                    within Tesla, according to emails
                     12:36 PM ET Tue, 19 June 2018 | 00:56
                                                                                                   years, smart virtual
                                                                                                   personal assistants will
                                                                                                   empower employees and, at
                                                                                                   a greater level, machines
                                                                                                   will also start learning from
 Tesla CEO Elon Musk sent an email to all employees on Monday                                      other machines, says Marc
 morning about a factory fire, and seemed to reference possible
                                                                                                   Wilkinson, CTO of
                                                                                                   workplace and mobility at
 sabotage.                                                                                         DXC.
 Now, CNBC has learned that Musk also sent an e-mail to all employees                              AI and machine learning
 at Tesla late on Sunday night alleging that he has discovered a saboteur                          have been helping workers
 in the company's ranks.

 Musk said this person had conducted "quite extensive and damaging                                           READ MORE
 sabotage" to the company's operations, including by changing code to
 an internal product and exporting data to outsiders.

 In 2016, after a SpaceX rocket exploded while being fueled up before an
 engine test, Musk and SpaceX COO and President Gwynne Shotwell
                                                                                              FROM THE WEB          Sponsored Links by Taboola
 also looked into the possibility of sabotage.
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Several employees, from different divisions within Tesla, confirmed      The Highest Cash Back Card Has Just Hit The Market
                                                                         Credit.com
receipt of the e-mail to CNBC.

Tesla is currently ramping up production to make its previously stated
                                                                         Arizona Launches No Cost Solar Program
goal of 5,000 Model 3s per week by the end of June. Last week, Tesla     Energy Bill Cruncher Solar Quotes
announced a broad restructuring, slashing at least 9 percent of its
workforce. Workers who are actively involved in Model 3 production
would not be affected, the company said.                                 Fan of SUVS And Crossovers? Discover The Fantastic
                                                                         New 2018 Models That Are Under 30K!
                                                                         SUV Nation | Sponsored Links
Tesla declined to comment on the e-mail.

Here's the full email:                                                   How Much Do You Really Get From A Reverse
                                                                         Mortgage?
                                                                         Reverse Mortgage | Sponsored Links

    From: Elon Musk
                                                                                                                           by Taboola
    To: Everybody
                                                                         Cramer: Stocks could
    Subject: Some concerning news                                        'go much higher' if
                                                                         the EU caves on
    June 17, 2018                                                        tariffs
                                                                         Commodity trading, a
    11:57 p.m.                                                           multitrillion-dollar
                                                                         industry that still uses
    I was dismayed to learn this weekend about a Tesla employee          pen and paper, is
    who had conducted quite extensive and damaging sabotage to           about to be turned on
    our operations. This included making direct code changes to          its head
    the Tesla Manufacturing Operating System under false
                                                                         If Iran tries to close
    usernames and exporting large amounts of highly sensitive            this strait crucial to
    Tesla data to unknown third parties.                                 the oil trade, the US
                                                                         Navy can unblock it
    The full extent of his actions are not yet clear, but what he has    quickly — Adm.
    admitted to so far is pretty bad. His stated motivation is that he   Stavridis
    wanted a promotion that he did not receive. In light of these
                                                                         Wreck of Russian
    actions, not promoting him was definitely the right move.            warship found,
                                                                         believed to hold gold
    However, there may be considerably more to this situation than
                                                                         worth $130 billion
    meets the eye, so the investigation will continue in depth this
                                                                         If the first men on the
    week. We need to figure out if he was acting alone or with
                                                                         moon had become
    others at Tesla and if he was working with any outside
                                                                         stranded, President
    organizations.
                                                                         Nixon would have
                                                                         given this speech
    As you know, there are a long list of organizations that want
    Tesla to die. These include Wall Street short-sellers, who have      Trump warns Iran's
                                                                         President Rouhani:
    already lost billions of dollars and stand to lose a lot more.
                                                                         'NEVER, EVER
    Then there are the oil & gas companies, the wealthiest industry
                                                                         THREATEN THE
    in the world — they don't love the idea of Tesla advancing the
                                                                         UNITED STATES
    progress of solar power & electric cars. Don't want to blow your     AGAIN'
    mind, but rumor has it that those companies are sometimes not
    super nice. Then there are the multitude of big gas/diesel car       MOST POPULAR
    company competitors. If they're willing to cheat so much about
                                                                                                             Southern California
    emissions, maybe they're willing to cheat in other ways?                                      1.         home sales crash, a
    Most of the time, when there is theft of goods, leaking of
                                                                                                             warning sign to the
                                                                                                             nation
    confidential information, dereliction of duty or outright
    sabotage, the reason really is something simple like wanting to
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   get back at someone within the company or at the company as                       5 things to do if you
   a whole. Occasionally, it is much more serious.                                   hit the $512 million
                                                                                     Mega Millions
   Please be extremely vigilant, particularly over the next few                      jackpot
   weeks as we ramp up the production rate to 5k/week. This is
   when outside forces have the strongest motivation to stop us.
                                                                                      ‘A storm is brewing’
   If you know of, see or suspect anything suspicious, please send
                                                                                3.   in the US economy,
   a note to [email address removed for privacy] with as much                        says economist Diane
   info as possible. This can be done in your name, which will be
                                                                                     Swonk
   kept confidential, or completely anonymously.

                                                                                     This $1 billion
   Looking forward to having a great week with you as we charge                 4.   company was once
   up the super exciting ramp to 5000 Model 3 cars per week!
                                                                                     rejected on 'Shark
                                                                                     Tank'—here's how
   Will follow this up with emails every few days describing the
                                                                                     the founder proved
   progress and challenges of the Model 3 ramp.
                                                                                     them wrong
   Thanks for working so hard to make Tesla successful,
                                                                                     Trump's $12 billion
   Elon                                                                         5.   aid for farmers
                                                                                     'unprecedented',
                                                                                     risks unintended
                                                                                     consequences




               Tesla CEO Elon Musk accuses
              employee of sabotage
               6:33 AM ET Tue, 19 June 2018 | 00:41




         Lora Kolodny
         Tech Reporter




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Symbol                               Price            Change      %Change

TSLA                             297.43               -5.77         -1.90%




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